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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al., 1                           Case No. 24-12480 (JTD)

                             Debtors.                          (Jointly Administered)



                                            NOTICE OF SERVICE

             PLEASE TAKE NOTICE, that on January 24, 2025, a true and correct copy of the

Response of the Settlement-related Liquidating Trust 2022-23 to the Debtors’ First Set of Requests

for the Production of Documents of Documents By Willkie Farr & Gallagher LLP was served upon

the parties listed below via e-mail transmission:




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  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom
VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight
FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587),
Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC (8288), American
Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC (5940), American
Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco
S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet, LLC (n/a), American Freight
Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836),
Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968), Franchise Group Intermediate V,
LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise
Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC
(8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition,
LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco,
LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW
Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group
Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite
J, Delaware, Ohio 43015.
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Dated: January 28, 2025                     /s/ Marla S. Benedek
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                                            Liquidating Trust 2022-23




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